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             EXHIBIT 3
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                    EX·PERI REPORT OF DR. TEhRY$PEAR

      1.    I am Dr. Terry M. Spear.           I reside at 110 South Hauser,

Opportunity, Montana.

      2.    I hold a Ph.. D. in industrial hygiene, and am a professor of industrial

hygiene at Montana Tech of the University of Montana, in Butte.                   My

CurriculutA'Vifae is attae-nedas Exhibit n A."

      3.    I have worked onindus~rlal hygiene issues. relating to the W.R.

Grace mine and mill near libby, Montana, for about 11 years. I testified in trials

in Libby in 1997, 1998 and 1999. I have reviewed hundreds of documents

relating to the mine and mill. I have visited the site. I have interviewed dozens

of former employees. I have read dozens of depositions.. I am generally familiar

with the vermiculite mining and milling operation near Libby, Montana.

      4.     lam co-author of Ward, T .J., Spear, T .et ai, "Trees as Reservoirs

for Amphibole Fibers in Libby, Montana," Science of the Total Environment, vol

267, issue 1., August 2006 (pp. 1-6). In 2004-2006, tree bark samples were

collected in support of a proposed firewood harvesting commercial logging

exposure study in the Libby area. Bark samples were collected to simulate a

probable amphibole fiber concentration gradient emanating from the mine from

forests around the W.R. Grace mine. Bark samples were collected from three

separate, heavily forested locations within the Superfund site, within the town

of Libby and on the railroad line seven miles west of town, and two miles
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northeast of the mine on United States Forest Service (USFS) road 4872 in an

area that had been recently clear-cut. Asbestos concentrations on bark near

the mine were greater than one hundred million fibers per square centimeter of

tree bark surface area. Asbestos concentrations on bark within the town of

libby showed a quarter afa miUionfibers per square centimeter,and the tree

bark sample collected from a ponderosa pine tree located on the railroad line

seven miles west of town (note that the vermiculite mine is east of town)

showed 5.8 million fibers of asbestos per square centimeter of tree bark surface

area.. Tree bark samples collected two miles northeast oftha mine on United

States Forest Service (USFS) road 4872 showed asbestos concentrations

ranging from none detected to 2 million fibers per square centimeter of tree

bark surface area.

      5.    lam co-author of Hart, J.F.. , Spear, T.M. at at "Evaluation of

Asbestos Exposures During Firewood Harvesting Simulations in libby, Montana

- Preliminary Data," Ann. Occup. Hyg., vol. 51, No.8, November 2007. The

study demonstrated that amphibole fibers are released from tree reservoirs

during firewood harvesting activitIes in asbestos-contaminated areas and that

the potential for asbestos exposure exists during such actiVities.

      6.    Mining of vermiculite began in the 19305. The old dry mill was

constructed part way down the mountain from the mining operations in about

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1937. In this open cut mining operation, blasting loosened materials.. Shovels

loaded rnaterials into trucks.. Roughly haffof the materials loaded were dumped

over the side of the mountain as waste. Trucks moved the ore down to the

transfer point, where the material was roughly sorted in a grizzly. The ore then

traveled on a conveyor down to bins next t() the dry mill. The ore was then

introduced Into the top of the dry mm and passed through a series of hammer

mills, screens, and chutes through six levels in the dry mill to the lowest level..

There. the product (vermiculite concentrate) was loaded into small railroad cars

called "skip cars," and was transported down to the lower ore bins. From there

the concentrate was trucked down to river storage·" to large bins identified by

grade. As necessary, the concentrate was released into tunnels below the river

storage bins onto a conveyor belt and was moved across the Kootenai River.

At the loading dock on the other side of the Kootenai River, the vermiculite

concentrate was loaded into railroad cars.. ' The cars were pushed into the libby

railroad yard near the downtown area of Libby. There the railroad cars were

joined to eastbound or westbound trains. About 10-16 carloads of vermiculite

concentrate per day left libby..

      7.     The mining operations were extremely dusty. Virtually every time

the ore or the vermiculite concentrate was moved clouds of dust were created,

except in wet weather. There was no area in the mining operation which was

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not dusty.. Workers recounted that aU ffatsurfaces were dusty" There was

often visible dust in the air, as can be seen from photos of the dry min and

blasting operations .

      a.o     The community of libby lies in a mountain valley.      The valley

airshed functions somewhat like a bowl. Pollutants when disturbed by wind or

human activity tend to be recycled into the bowl.

      9.      W.R . Grace & Co. and its predecessors introduced raw ore and

vermiculite concentrate into the community of Libbyina number of ways. Next

to ~he railroad tracks near the downtown area, Grace had a bagging plant where

a limited quantity of vermiculite concentrate was trucked to town, dumped,

kept in open storage bins and then placed in bags and loaded onto railroad cars.

Again,. virtually every time the vermiculite concentrate was moved, dust was

created. Next to the bagging plant was an expansion plant, where vermiculite

concentrate was exfoliated or "popped n into products which could be used for

insulation and other purposes.     When the expansion plant was operating,

considerable dust was generated. This is shown in the film nOust to Dust,       tI




with boys playing baseball with the expansion plant 1n the background.

      10..    Grace had no fences around the storage bins and piles of

vermiculite concentrate"    Children often played on the piles.     Community

members were allowed to take the waste from pites for use in gardens, lawns,

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or insulation..

       I,n the 1950s and 1960s, the railroad cars hauling-vermiculite concentrate

were generally open cars which emitted dust when moved. In the 1970s,

hopper cars were used,. but they often leaked concentrate into the railroad yard.

Recently BNSF Railway has cleaned the Libby railroad yard by removing several

inches of top soil.

       11-.    The result of the above, and other pathways, was "widespread

contamination of the libby, Montana area.. "Peipins (2003), abstract. Of

7,307 participants in the ATSDR screenings in 2000 and 2001, only 307 had

worked for W.R . Grace, but 1,103 had had vermiculite exposure at non-Grace

jobs, 3,017 had vermiculite insulation in Lincoln County homes, 3,702 had used

vermiculite for gardening, 4,722 had played at the baseball field near the

expansion plant, and 2,442 had played on vermiculite piles.

       12..    Various tests on the dust showed 27%-40% asbestos. Exh. 21,

p.1; Exh. 35, .Exh. 45. (Exhibit references are to Common Exhibits used in

Grace trials 1997-2000, attached on CD).

       13.     The industrial hygiene literature shows that asbestos exposure was

well understood as a hazard by the 1930s. The connection between asbestos

exposure and lung cancer was established in the 19408.            The danger of

asbestos exposure to workers· families and the community was recognized in

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the 1940s.. The connection between asbestos exposure and mesothelioma was

well established by 1960. The above was clear in the occupational medicine

and industrial hygiene literature, and W.R. Grace and Its predecessor Zonolite

Company should have been well aware of it.

      14.    The central principles of industrial hygiene literature are' to study,

to warn, and to protect. These principles extend.notonly to the Grace workers

in Libby, but also to family members of workers, and to the community. W.R.

Grace and its predecessor Zonolite Company did not adequately study, warn,

or protect the workers, their family members, or the community of Libby..

      15.    Let us examine what Grace knew by 1964. The.company knew of

the presence of asbestos from the 19205 forward. Exh. 90..4. The company

knew asbestos was toxic by 1955 Exh.. 14. Per indust.rial hygiene literature the

company should have known this through the literature in the 1940sor earlier.

In 1956, the State of Montana, Board of Health, Division of Disease Control

performed an inspection at the mine. The State found high concentrations of

asbestos, viol.ations of industrial hygiene literature and warned of the

"considerable toxicity of asbestos." Exh. 17. The company recognized at that

time that asbestos was a serious health hazard. Lovick Depo, 87:10 .. In 1959

a company chest x-ray series showed 36% of the workers with abnormal chest

x-rays. Exh. 26. Annual chest x-rays 1964-1980 showed 25...30% abnormals.

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Exh. 193.17,p.36. The company knew in 1959 that worker Glenn Taylor was

diagnosed with asbestosis. He died of asbestos disease in 1961 .. Lovick Cepo,

98:9, Exh. 221' Exh.67. Three workers died of asbestos disease in 1961. Exh.

225. The trial testimony of Earl Lovick, Assistant Manager for Grace in Libby,

states:

            Q: And you knew at least by 1962 that this ~ you had
            a serious health problem and in fact that your men
            were being diseased, correct?

            A: Yes sir..

            Q: It wasn't at risk of disease, they were in fact being
      diseased, correct?

            A: Some of them yes sir.

            Q:And they were in fact dying correct?

            A: Some of them yes sir.

      Schnetter v. W.R. Grace Transcript 4/30/97, p.381 :4.

            Q: You had absolute proof that these men had, been
            diseased up there at the min by 1966 at the latest? Is
            that true?

            A: Yes sir that would be true.
                       I




            Q: And you have told us that none of the records you had
            on that were shared with men~ Is that true? That is what
            you told us correct?

            A: Yes sir.


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               Q: And so at this point it wasntt just a matter of men being
               exposed to something that might injure or kin them, these
               men were already injured and dying, and they were
               continuing to be exposed every day" is that true?

               A: Yes sir.

        Schnetter v"W.R" Grace Transcript 4/29197, p.155:4.

        Grace continued to send men into the dry min for eight mor,e years after

1966.

        16.    Grace knew of the connection betwe.en asbestos exposure and lung

cancer through the 1964 State Report, and was therein informed of "possible

widespread carcinogenic air polfution.. *' Exh.53.Risks of asbestos exposure

to community members were quite clearly spelled out to Grace eX.ecutives in

1968.. Exh. 119.

        l7.    In 1967 a test was done on the large "600 fan" on the dry mill.

Exh. 117.. The estimate was 24,000 pounds. per day in dust emitted by the

large stack on the dry mill. At 25-30% asbestos, this was about 8,000 pounds

of asbestos emitted into the air from a single source, the large stack on the dry

milt.

        18.    Residents have reported that Libby in 1950-1990 was a dusty

place. The manager of Grace operations estimated in 1.965 that "you could get

a five count in downtown Libby on many dry days." Exh. 79. This would have


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been 5 mppef or about 2"0 fibers per cubic- centimeter. See Arnal1dus( 1987a),
               t




p.S, Libby Studies, Expert report of Dr.. Alan C.. Whitehouse. In 1975, Grace

performed measurements of ambient air at three locations in Libby and obtained

0.67, 1.1, and 1.5 f./cc, indicating a serious hazard from breathing the air in

Libby. Exh. 20, Expert Report of Dr. Alan C. Whitehouse.

      19.     Grace and Zonolite Company did not adequately study the asbestos

hazard" Even though the rate of abnormal chest x-rays was extr~mely high

from 1959 forward, and even though full physical examinations were first

suggested to the company in 1959 (Exh. 261 Grace never did have the workers
                                                #




examined by a physician who could collect the chest x.-rays, lung function

tests, the physical examination and history of asbestos exposure, then report

and advise the patient. This was true aU the way through until Grace closed

operations in 1990.. Accordingly, Grace's medicalsurveitlance program was

inadequate at all times up to 1990.

      20.     The industrial hygiene literature requires that the company study the

hazard, consult appropriate physicians and scientists, inform those at risk, and

ideally publish the results in the literature. W.R. Grace did not do this.

      21.     In fact, Grace declined and obstructed medical studies, and

misrepresented facts to local libby doctors. The history provides a clear record

of obstruction. In 1959, on receipt of the Glenn Taylor diagnosis of asbestosis,

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Dr. Knight of the Montana State Tuberculosis Sanitarium inquired about

asbestos in- the dust from the ore. Exh. 23. The oompanyrepfied that "the

dustin our mill has never been analyzed as such. n Exh.. 24.. This statement

was false. The 1956 State Report shows nthe concentration of asbestos found

in the dust, which varies from eight percent to twenty-one percent.. » Exh. 17,

p.3. Also, the 1959 State Report found that airborne asbestos was in an

average concentration of 27%. Exh.21 , p .. 1.

      22.     In1959, Dr. Cairns, a local doctor in Libby, proposed a study on the

workers with abnormal chest x-rays. Exh.. 26. The company declined. In

1964, Dr. Nelson of libby performed lung function tests, and proposed further

study on workers with abnormal chest x-rays, and offered to do the work on

his own time. Exh.54, 56. Grace declined. Exh. 72.

      23..    In 1965, Dr. Spicer~ a pulmonologist and consultant to Maryland

Casualty, Grace's Workers' Compensation carrier, reviewed Dr.. Nelson's

records and estimated a tt 20% incidence of asbestosis in the workers studied.. "

Exh . 73. Dr.. Spicer suggested a thorough study. Exh. 73. Grace declined"

Exh.85, p.5"

      24.     In 1961, the first asbestosis occupational disease case came to

hearing. Grace's attorney reviewed the existing State Board o·f Health reports,

and consulted with Dr. Little, the radiologist then reading the chest x-rays on

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Libby workers. The attorney's letter (Exh. 92a) notes:

      Dr. little stated that we did indeed have a severe problem, and that
      we might expect a good many claims involving asbestosis.. . .. .
      apparently the only persons a.ware of the- studies are the insured's
      officials and Dr. Little. Again, .as you may well realize, I would
      much like to avoid having evidence presented by the opposing
      party which would reveal the extent and severity of the problem
      with which we are concerned.. p,.3

      In that same document, the attorney informed the company:

             Nevertheles~, as I informed you, I would hesitate to anow the
             evidence of the State Board reports if it is possible to keep
             them out of the hands of the Industrial Accident Board, and
             through it the general public. p.2

      Grace settled the case.

      25.     In 1968, the U.S. Public Health Service requested a study on the

Libby workers.     Exh. 104.    Grace declined.     Exh. 108.      In 1969, Grace

performed an in-house study on the 1969 chest x-ray series, finding 92%

abnorrnaJs in workers with over 21 ye.ars service, and 17 % abnormats in

workers with under six years of service.· Exh.. 130.4. This study was not

disclosed. In 1976, Grace performed a review of death certificates, finding a

lung cancer rate five times the expected. Exh. 183.12. This study was not

disclosed. In 1977, Dr. McMahon of Harvard proposed a study.. Exh. 182.30.

Grace declined. Exh. 183.

      26.    In 1977, Grace performed an in-house study in which hamsters


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were injected with libby tremolite asbestos.           The study founda. high

association of mesothelioma with libby tremoUte.          Exh. 184bl.      later,H.

Eschenbach,     Director of Toxicology and Industrial Hygiene for Grace,

represented to Dr. Irons of libby that Libby tremolite had not been associated

with mesothelioma.. This statement was false .. In 1978, Dr. Irons of Libby,

having found asbestos disease in his patients, requested" data and requested

that a major study be undertaken, including effects 00 workers and "their

famUiesandthe community." Exh. 184b.Grace declined. See Exh. 188z(H.

Eschenbach, Grace Director of Toxicology and Industrial Hygiene t stated n I

think it best that we just let trons sit and meditate a while. It}

      27.     In 1980, NIOSH proposed a study on the Libby workers. Gracets

response was to consider alternatives, including to "obstruct and block" the

study.. Exh. 192.4.

       28.    The above constitutes a long series of violations of industrial

hygiene literature and common decency ,and no doubt was a contributing

factor in the continuing pattern of disease and death in the Libby workers, their

familie·sand community members until the present time.

       29.    A second central principle of industrial hygiene literature requires

that the company must warn workers., their families, and the community of

known hazards in aU settings.       In 1979, new federal regulations re.quired a

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miner education program.. Before that Grace did not discuss the hazards of

asbestos exposure with workers:.- O.f even with lower Jeveisupervisors. -,Lovick

Depo, 763:8 . Workers will take precautions,. especially if they know they may

bring toxle dust home on their clothes or in their vehicles, which may then

affect their wives and children.. Grace workers had no such opportunity in the

19505, 1-960s or r1:l1os up to June 1.97'9. In fact, the Chief Engineer in libby

was reprimanded for discus.sing the asbestos with an outsider. Exh.159. The

memo states, "The point I am trying to get ~cross is that our present policy is

to tell no one anything, no visitors or discussion of our operations period."

After 1979, Grace told some workers that the material was notasbestos,# it

was tremofite.     Grace also did nothing to warn family members or the

community of the hazards of asbestos exposure, aU in breach of the standards

of industrial hygiene literature.

      30.    A third central principle of industrial hygiene literature requires that

workers, their families, and the communities must be protected. The hazard

must be controlled.    Asbestos disease in Libby was largely preventable.          A

review of the trial transcripts shows there was no adequate housekeeping and

maintenance at the Grace operations, whereas this was accomplished

elsewhere. Bag houses and vacuum technology were feasible, and in place

elsewhere. Wet methods were feasible. The dry min was finally replaced in

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1974, with a wet mill. However, the rest of the Grace mining operations

remained dusty. There was not a proper respiratory protection program.

Pro.taction from the hazards of asbestos had been written about by Merewether

and Pdeein 1930.

     31.     Grace never supplied showers and lockers for the employees. As'

a result, workers brought home asbestos dust on their clothing. In 1983, Grace

declined to spend $250,00000 a change house for workers. Exh. 193.77. In

this memo the Grace Plant Manager discusses the opinion of Dr. Gm,. the

radiologist 'reading Libby worker x-rays, that he was also seeing a pattern of

abnormality in the chest x-rays of Libby community members.

      32.    Grace allowed community members to take vermiculite waste from

piles on company property, thus spreading asbestos contamination into the

community. Grace allowed children to play on piles of vermiculite waste on

company property.

      33~    Vermiculite mountain is located about seven miles northeast of

Libby, Montana.    The mineral vermiculite was first discovered there in the

19205. The presence of naturally occurring asbestos as an impurity in the

vermiculite was known in the 1920s.        Exh. 90.4.   There were attempts to

market the asbestos in the 19205 and in about 1962. Exh.41-44.

      34.    Grace knowingly endangered the health of workers,' family members

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of workers, and community members in libby for decades. This constituted

gro.ss vit>lationsof applicable industrial hygiene standards.

      35.    Asbestos exposure was recognized as a deadly hazard by the

1930's. The diagnosis of asbestosis was established in 1924.10 1930, Dr.

Merewether and Or. Price published a study proving asbestos exposure-causes

deadly lung disease.      The same year, the Journal of· the American Medical

Association reported a fatal case of asbestosis in an asbestos miner.

Throughout the 1930's, dozens of articles appeared in scientific literature

confirming that asbestos exposure causes fatal dIsease.

      36.    Tramolite asbestos, like other forms of asbestos, was recognized

in industrial hygiene literature as highly toxic by 1951. Vorwald (19?11. The

Montana Supreme Court has found asbestos dust was a well known toxic

inhalant prior to 1956.     Orr v. State of Montana, 2004 .MT354, 14, 324

Mont. 391 , 106 P.3d 100. Traditionally, Libby asbestos has been referred to

as "tremolite."   More recently, sophisticated analysis has shown that Libby

asbestos is 84% winchite, 11 % richterite, and 6% tremolite(Meeker 2003).

      37.     In the 1940's, the link between asbestos and lung cancer was

recognized in the medical and industrial hygiene communities.           The link

between asbestos and cancer was referenced in an article by Lynch and Smith,

in a widely disseminated journal in 1935.        Several articles in the 1940's

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referenced the link between asbestos andcancer, including a 1949 .article in the

Journal of the American Medical Association. In 1955, a study published by

Sir Richard Don conclusively prov~d that asbestos causes cancer.

      38.     Drinker and Hatch, Industrial Dust (McG'raw.. Hlll, 1954), is a

standard authoritative industrial hygiene text..     At p. 39, the text notes the

1947 total of 160 deaths from asbestosis in Great Britain.          At page 46, the

text demonstrates a 10 times greater than normal incidence. of lung cancer in

asbestoctics..

      39.     In 1960, Dr. Wagner published a study proving exposure to

asbestos causes mesothelioma.         In 1964, Dr. Irving Selikoff published a

landmark study further demonstrating that exposure to asbestos causes the

fatal diseases asbestosis, lung cancer, and mesothelioma.

      40.     By the 1960'5 1 hundreds of articles and studies published in the

industrial hygleneand medical literature established that asbestos exposure is

,harmful and can be fatal.    These materials were readily available to anyone

interested in learning about the dangers of asbestos.. As a standard practice,

industrial hygienists review industrial hygiene literature, as well as occupational

medicine literature.

      41 •    Environmental contamination from asbestos..containingmaterials

can occur not only during construction and demolition, but also throughout the

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Ufe of the structure (EPA-45012..78-014., 1978t. Jthas been known since 1930

that bystanders are .at risk ,of significant asbestos exposure.   That is, people

who do not themselves work directly with asbestos materials are at riskaf

significant exposure caused by others who are working with asbestos materials.

 For this reason it was recommended in the 1930s that dusty processes

involving asbestos be isolated from other work areas to avoid exposing people

whose presence is not necessary in the dustier operations, or to perform the

dustier operations with asbestos at times when there is a minimum number of

other workers present. Se.e,e,..g., Hoffman,. 1918; Oliver, 1927; Merewether,

1930; Merewether, 1933; Enman, , 933, page 1937 (dog kept in factory to

catch rats dies of asbestosis)~

      42..     Asbestos'fibers in the air are known to travel long distances from

their source or point of origin. The Environmental Protection Agency (EPA)

states that,

      During the time that the [asbestos] fiber remains airborne, it is able
      to move laterally with air currents and contaminate spaces distant
      from the point of release. Significant Jevels of contamination have
      been documented hundreds of meters from a pOint source of
      asbestos fibers,. and fibers also move across contamination barrier
      systems with the passage of workers during rem.Qval ofmatorial..

      The theoretical times needed for such [respirable) fibers to settle
      f~om a 3 meter (9 ft)ceiling' are 4, 20 and 80 hours in still air.
      Turbulence will prolong the settling and also cause re-entrainment
      of faUen fibers.    (Sprayed Asbestos Containing Materiafsin

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        Buildings, A Guidance Document" U.S.Environmental Protection
        Agency, March 1978).

        43.    Because of th~irshape andsmaU size, asbestos fibers, particularly

those of respirable dimensions, remain airborne for hours once they are

introduced into the air.    Once they ar~ airborne the asbestos fibers win drift

long distances from their source.     Movement and air turbulence causes fibers

that have settled out of the air to be reintroduced (re.. entrained) into the air and

to drift long distances from their source.     In addition, the human traffic on a

worksite can also be expected to disburse asbestos throughout the entire work

area.     For this reason asbestos fibers do not respect work areas or job

classifications. It has been repeatedly demonstrated that a source of asbestos

emission in the air puts everyone in the ge~eral vicinity (bystander exposure) at

risk. Because of the microscopic size of asbestos fibers, and their aerodynamic

properties, typical housekeeping activities such as sweeping tend not to remove

that asbestos from the plant. Rather, such activities have the effect of stirring

up and re.. entraining the asbestos that is in the location, ensuring that it is

available for inhalation by workers in the vicinity.

        44.    The practice and goal of industrial hygiene is to protect the health

of human beings by anticipating, recognizing, evaluating, and controlling

hazards in the workplace. Reasonable and prudent industrial hygiene practice


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since the early 1900's required that workplaces be evaluated for potential

employee exposure to toxic materials and that controls be implemented on any

worksitewhere there are employees with potential exposure to toxic dust such

as asbestos~

      45.     A 1982 Environmental Protection Agency (EPA) study reported that

approximately 21 to 26% of the unprocessed ore and 0.3 to 7% (by weight)

of the concentrated vermiculite was asbestos, while a 1984 WR Grace study

reported 3.5 to 6.4% of the unprocessed ore and O~4 to 1 % (by weight) of the

conc~ntratedvermiculite was asbestos (United States Department of Health and


Human Services Agency Jor Toxic Substances and Disease Registry, Chemical-

Specific Health Consultation:. TramoJite Asbestos and Other Related Types of

Asbestos, 2001 r page 1 2).

      46»     Soil containing Libby asbestos at levels equal to or greater than 1 %

aregeneraUy considered a health hazard requiring remediation. Depending on

site-specific exposure scenarios~ remediation or other measures may also be

appropriate to prevent exposure to soils containing less than 1 % Libby asbestos

(Anderson et.aL 2005, page 5).         Federal standards regulate materials that

contain more than 1 % asbestos (EPA US Environmental Protection Agency,

1987,and EPA US Environmental Protection Agency ~ 2003b); therefore, the

1 % level has been used as an action fevelfor soil remediation activities at a

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number of· sites. It is important to note that this 1 % standard is .not derived

from a risk assessment or any other type of health-based analysis; therefore,

it does not ensure that airborne asbestos fibers resuspended by disturbing these

soils will be below levels protective of human health. In fact, recent activity...

based studies have shown that disturbing soH containing less than 1 % libby

asbestos can resuspend fibers and generate ai rborneconcentrations at or near

the OSHA permissible exposure limit (U.S. Environmental Protection Agency,

2001 c and U.S. Environmental Protection Agency,. 2004).

      47.    EPAcoUected data from personal and stationary air monitors in the

immediate vicinity of people actively engaged in disturbing vermiculite

insulation. This scenario ·wasintended to assess exposures that might be

experienced either by homeowners who engaged in activities in unfinished attic

areas, or for contractors who might come into contact with vermiculite during

repair or remodeling activities.       These data demonstrated that active

disturbance of vermiculite results in very high concen1rations of fibers as

measured by both phase-contrast microscopy (PCM) and transmission electron

microscopy (TEMl phase-contrast microscopy equivalents (PCME). The highest

airborne concentration of 3.3 total asbestos fibers per cubic centimeter (flee)

by TEM occurred during the simulation with Zonol1te Vermiculite. In Phase 2,

levels of airborne asbestos fibers were detected during seven simulations

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conducted in an artificial containment system. Bulk analysis of the Zonolite

product .indicated that it contained trace amounts of asbestos fibers (PLM:

< 1 % tremolite; TEM: < 0 ~1 % tramonte/actinolite)>> Airborne asbestos fibers
were detected in approximately half of the total air samples collected (total

from all personal and stationary air samples combined). The maximum airborne

concentration of 4.3 total actinolite flee by TEM occurred during the first

simulation with dry vermiculite (U.S. Environmental Protection Agency, 2003)..

      48.    These findings are consistent with previous studies conducted" by

W.H. Grace: These "drop tests" demonstrated that fiber concentrations in air

resulting from pouring vermiculite insulation onto the floor und~rcontroned

conditions can be extremely high even when bulk concentrations in the

vermiculite are less than 1 % (Grace 1976).

      These results clearly indicate that vermiculite insulation in homes
      or commercial buildings is a substantial reservoir of asbestos-
      contaminated source material that may lead to on-going exposure
      of area residents and workers (Christopher P. Weis Memorandum
      December 20, 2001).

      49.     Addison (1995lgenerated airborne dusts from a series of soils with

varying levels of asbestos contaminations. The study concluded that n even the

lowest bulk amphibole' concentration tested to.001 %) was still capable of

producing measurable airborne asbestos concentrations (greater than 0.01

"fibers ml-1)" (Addison, J. 1995). Vermiculite: a review of the mineralogy and

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health effects of vermiculite exploitation.. Reg.. Tox.. Pharm..21: 397-405).

Libby a.sbestos is amphibole· asbestos.

      50.    The National Institute for Occupational Safety and Health (NIOSH)

has stated that "any vermiculite that originated from the mine near Libby,

Montana, should be regarded as potentiaUycontaminated with asbestos. As

with any asbestos-containing or asbestos-contaminated material, the only way

to know the amount of asbestos present is to have the material tested. Bulk

sampling is re'"iable only when oVEn 1 % of the material is asbestos. Negative

results from bulk samples can therefore be falsely reassuring when Jess than

1 % of the sample is asbestos. However, disturbing contaminated vermiculite

with less than 1 % asbestos canstiU result in hazardous concentrations of

airborne asbeslosfibers.1' NIOSH recommends workers consult Occupational

Safety and Health Administration (OSHA) asbestos standards for general

industry and construction (29CFR 1910.1001 and 1926.1101) when work will

involve vermiculite that is known or presumed to be contaminated with

asbestos. If the vermiculite is known or presumed to be contaminated with

asbestos, NIOSH recommends the following general guidelines for limiting

asbestos exposure:

                Avoid handling or disturbing loose vermiculite

                Isolate work areas with temporary barriers or enclosures to

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                avoid spreading fibers

                Use wet methods, if fe.asible, to reduce exposure
                Never use compressed air for cleaning
                Avoid dry sweeping, shoveling, or other dry clean-up methods

                Use disposable protective clothing" or clothing that is left in the
               .workplace.. Do not launder work clothing with family clothing

                Use proper respiratory protection.

                Dispose of waste and debris contaminated with asbestos in
                leak-tight containers in accordance with OSHA and EPA
                standards (DHHS (NIOSHl Publication Number 2003-141 ,May
                2003).


      51.    As part of the Phase 2 study, EPA collected data from personal ar]d

·stationary air monitors in the immediate vicinity of peopleactivety engaged in

disturbing vermiculite insulation. This scenario (referred to as Scenario 3) was

int~nded to assess exposures that might be experienced either by homeowners


who engaged in activities in unfinished attic areas, or for contractors who might

come into contact with vermiculite during repair OJ remodeling activities. The

results of personal air samples [transmission electron microscopy (phase

contrast microscopy -asbestos)           TEM    (PCME-asbll    showed     a   mean

concentration of 0.309 flee with a range of 0.042 - 1.057f/ec. The results

of stationary air samples (TEM (PCME-asb) showed a mean concentration of

0.309 flee with a range 010.023 - 0.789 f/ce.



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      52..    For chrysotHe asbestos it is thought by some authors that 25 fiber

pe.rcubic centimeter years (f/cc years) of exposure is necessary to cause

asbestosis.. For amphiboles in general and Libby amphiboles in particular, the
                                              .
threshold exposure may be 2 flee years or less. See also Sluis.. Cremer at aL

(1990) {an amphibole study}, page 440, liTable 5 showing that even when

exposed to an average. fiber concentration 012 f ml~l or Jess, very significant

proportions of the men have developed asbestosis..     II




      53..    Another important issue pertaining to the toxicity of asbestosis

fiber morphology. For the purposes of counting asbestos fibers in air samples..

regulatory agencies commonly count particles that have lengths ~ 5 JJrn and

length to width ratios ~3: 1 as fibers.    For detecting asbestos fibers in bulk

building materials, particles with length:width ratios ~ 5:1 are counted as fibers .

The current occupational exposure limit for asbestos is O. 1 flce {a-hour time

weighted average) for fibers ?; 5 micrometers (urn) in length, with an aspect

ratio (length:widthl> 3:1 {OSHA 2001 (ACGIH 2001).

      The current standard method for determining airborne asbestos particles

in the U.. S. workplace is the National Institute for Occupational Safety and

Health (N10SH} Method 7400 which uses phase contrast light microscopy

(PCM) (NIOSH 1994a,1994bJ.Fibersare collected on a filter and counted with



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400.. 450x magnification. The method does not accurately distinguish between

asbestos and non-asbestos fibers, and cannot detect fibers thinner than about

0.25 urn..

      Polarized light microscopy is frequently used for determining the asbestos

conteht of bulk samples of .insulation or other buildingmatedals (see, fot

example, NIOSHMethod 9002 [NIOSH, 19891 and OSHA method 10-191

(OSHA, 19941l.. This method also enables qualitative identification of asbestos

types using morphology# color and refractive index..
                                 I·




      Transmissionefectron            microscopy    (TEM)   and   scanning   electron

microscopy (SEM) methods can detect smaller fibers than PCM and can be used

to determine mineral habit in bulk materials that may become airborne. NIOSH

Method 7402, Asbestos by TEM, is used to determine asbestos fibers in the

optically visible range and is intended to complement PCM (NIOSH

Method 7400).       However, NIOSHMethod 7402 still counts fibers                .~   5

micrometers Cum) in length.


      Consequently the current regulatory methods of counting fibers based
                     I




on fiber length and aspect ratio may not adequately describe the risk of

asbestos-related health effects in that the concentration of fibers ,< 5 um may

contribute to health risks.      Fiber size, shape, and composition contribute



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collectively to health risks in ways that are currently being evaluated.. Astudy

by Suzuki (2005) concluded that "contrary to the Stanton hypothesis, short,

thin asbestos fibers appear to contribute to the causation of human malignant

mesothelioma. Such fibers were the predominant fiber type detected in lung

andmesothellal tissues from human mesothelioma patients. These findings

suggest that it is not prudent to take the position that short asbestos fibers

convey little risk of disease." Animal and in vitro studies also suggest that

fibers < 5 urn may also playa role in fibrosis, particularly under conditions of

overload. Intense exposures may result in overload, limiting clearance of small

fibers (Sullivan, 2007; ATSDR., 2003).

      Hartet.. at. (2007) reported that 69% of the fibers collected in the libby

area were <5 urn in length. This is consistent with ambient air sampling

trends reported for libby, using AHERA TEM analysis., of 65 % of the airborne

fibers coUectedat libby being < 5 urn in length (ATSDR, 2003). In addition,

fiber dimension analysis of bark samples reported by Ward et ai, showed the

majority of the asbestos fibers detected were <. 5 urn in length.

      54.    The data and other information considered in forming the above

opinions and observations includes:

             a..   The Expert Report of Dr.A.C. Whitehouse, which I rely upon"


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              b.    The common exhibits for the Grace trials in libby 1997-2000
                    attached on CD.


              c.    Transcripts of'the trials in Skramstad v. w..R. Grace (1997),
                    Benefield v.W.R. Grace (1998) and Finstad v.. W.R. Grace
                    (1999), on CD.


              d.    Depositions upon Earl-lovick, Assistant Manager of the W.R.
                    Grace operati.onsof libbYI Montana,Qn CD..


             ·e..   Industrial hygiene literature on asbestos and disease..


      55"     J am being compensated at the rate of $150 per hour.


     . 56.    A listing of other cases with trial or deposition testimony is attached

as Exhibit B.
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                                                 CUTncuium Jlitae
                                                        May 2008

J~       PERSONAL DATA

Name:                              Terry M. Spear
Birth Date:                        06123152
Birthplace:                        Butte, Montana
Citizenship:                       United States

II..     EDUCATiON

Battalaureate Degree (B.A..):Mic:roblology; June 1975; University of Montallat Missoula, Montana.

Master otSeienee (M.S.)            Environmental Health; De<:ember 198Q, UniversiW of-Minnesota.

Dodor of Philosopby (ph.D..):      EnviroDmcotal Health; April 1996,
                                    University of Minnesota
Dissertation Title:                Assessment ofWorkers J Exposure to Lead-Containing Aerosol

Ill..    PROFESSIONAL EXPERIENCE

Employment (fnll-time):

Faculty; Safety) Health and Industrial Hygiene DepartmeDt: 8183 to present
Montana Tech ofThe University of Montana, School ofMines.
Assistant Professor (1983.. 1988)~ Associate Professor (1919..96)1 Full Professor, Tenured (lm--present)
Develop and teach courses in academic safety and industrial bygiene programs. and the Montana Tech continuing educa1icm
program. Involved in aU aspects ofadvising, developing, ·and·directing of student research and ·academic·progress.

Tea~hlDg Responsibilities:
Teach industrial hygiene, hazardous materials management,ait sampling and analysis, instrumentation for industrial
hygieneJ welding safety and health. industrial respiratory protedion,epidcmiology, radiological safety. Also teacb 8 variety
of short courses on subjects including hazardous materials handling and response, confined space entry, construction safety,
petroleum production.safetyJ welding safety and health, safety administraOon.,safety engineering.

Senior Engineer. 11180 to 8/83
EG&G Idaho Inc., Idaho National Engineering Laboratory (!NEL), Idaho FaHs Idaho', Provided industrial consultation to
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facility management, including investigation and·monitotingofwork environments, ventilation evaluations. design and work
practice reviews, hazardous materials oversigh~ and worker education and training.

Employment (pan-time):

 Affilmte Professor, 9/81 to 5/82
 University ofIdaho, Idaho FaUs, Idaho. Instructor for Mines 433 J
 Environmental Health I, Industrial Hygiene, and Mines 434, Environmental
 Health ll. Occupational Stress.

 Industrial Hygiene Tethnitiao$ 8180 to 11180
 Honeywell Inc., Defense Systems Division, St~ Paul,. Minnesota. EvaJuated,documented and recommended procedures to
 control worker exposure during processing ofdepleted uranium.


                                                                                                                  EXHIBIT

                                                                                                           I II
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III.PROFESSIONMEXPElUENCE (continUed)
EDlploymellt<part..time) (coDtiIlUed):

Industrial Hygiene IDtem~ 6180 to alSO
Sperry Univac~ Defense "System Divisio11t St" Paul) Minnesota. Evaluated chemical safety program through monitoring and
work practice reviews. Assisted in the development ofan occupational exposure database.

ludustdal Hygiene TecbniclaD,6n9 to 9n9
Anacon.da Mining Company, Anaconda, Montana. Conducted monitoring program and ventilation surveys to detennme
compliance with OSHA arsenic standard.

Related ProCessional ExperieDce:

Provide consultation to,s variety Qrgeneral'industty and mining companies on programdocwnent deveJopmen~ health and
safety compliance 8uditing, reguJatoly issues., indus1rla1 hygiene field sampling) on-site.bazardassessments? and training.
Over 20 years experience in providing ex~ witness testimony involving coosuJtationand participation in more than 50
personal injury and illness liability litigation cases for plaintiffs, defendants, private industry, and insurance companies.

IV.      RESEARCH AWARDS
Weatherjzation protocols in homes contD.ining venniculite and other asbestos-eon1ainingmaterial. U.S. Department of
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v..      PEER-REVIEWED PUBLICATIONS

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 Vincent, J.H.,Werner, M.A., Tsai, P.-I And Spear, T.M. (1996). <tStudies of occupational aerosol exposUIesand the impact
 of introducing new criteria for standards:' In: Occupational HygieneStlluticms (ed. a.s. Hewson)" proceedings of the 15th
··AnnuaJ Conference ofthe Australian Institute ofOccupadonal Hygienists, Tullamarine, Victoria, Australia, pp 33-41.
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V..     PEER..REVIEWED PUBLICATIONS (eeutiDued)

M.A. Werner. T.M. Spear and JR. Vincent. "Investigation Into The Jmpact"oflntroducing Workplace Aerosol Standards
"Based On The Inhalable Fraction.,t    Presented at the Second International Symposium on Modem Principles of Air
Monitoring (Salen. Swed~ FehrtJm'!}1, 1996)and published in The Analyst. Vol 21 (1207... 14), 1996.

VI.    PROFESSIONAL PRESENTATIONS

HEvaluation of Asbestos Exposures during Firewood Harvesting Simulations in Libby, Montana". Ward. T. J.,Spear, T.,
and Ha:I\ J. 2008 ASTM Johnson Conference, Burlington, VT, July 15, 2008 (poster).

"Trees as Reservoirs for Amphibole fibers in Libby, Montana". Presented at the Mine Design, Operations & Closure
Conference, April 2001.

UWinteruse airmoniroring in Yellowstone National Park". Presented at the Pacific Northwest American Industrial Hygiene
Conference. October 2006.

4~Occupational'exposure to Snowmobile emissions in Yellowstone National Park'" Presented at the .American       mdustrial
Hygiene Conference and Exposition, May 2005.

'~OccupationalExposure  to Submicron Particle Mass and Number Concentrations from Diesel Emissions In an Underground
Mine.» Ptesentedal the American Industrial Hygiene Conference and Exposition, May 2003.

UDemonstrating an association between exposure and risk of disease," Montana Trial Lawyers Association Scientific
Evidence Seminar, April 25, 2003.

"Worker exposure to dust and heavy metals during abrasive blasting using copper slag.» Presented at the Pacific Northwest
American Industrial Hygiene Confereoce, October 2001.

UCharacteri.~tion of aerosol generated during abrasive blasting with copper slag.n   Presented at the lnhaJed Particles IX
Symposium· in Cambridge, ~ September 2001.

uCompanson ofMetbods for Personal Sampling ofJnhalable and Total Abrasive Blasting AerosoL" Presented at the
American Industrial Hygiene Conference and Exposition. May 200 1.

"Airborne •Exposure Assessment of Abrasive Blasting Aerosol Using Copper Slag Abrasive." Presented at the American
Industrial Hygiene Conference and Exposition, May 2000.

"Respirator protedion.factors." Presented.at tbe 19!h Annual Lead Occupational.HeaJtb Conference, Chicago,.IL.• Ocrober,
1997.

nAn effective protection factor study at a primary lead smelter." Presented at and published in the abstracts ofthe American
Industrial Hygiene Conference .and Exposition, May 1996.
Wfheimpact of introducing workplace standards based on the inhalableftaction."· Presented at the Montana Safety and
Health Conference, April 1996.

·'Characterization of lead aerosol size distribution in a primary leadsmelter.'t Presented at the Montana Academy of
Sciences. April 1994.

'1lnhalabJe Fungal Aerosol Exposure in a WC>Od Pellet Planet Presented at the American Industrial Hygiene Conference and
Exposition May, 1993.
           t




 VU.     HONORS
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NIOSH Sc.holArihlp, 1978, Montana Tech.
NIOSH Scholarship. 1919~ University ofMinneso1a
NIOSHFelmwship, 1994 -J995, University ofMinnesota

VIII..   ADMlNlS11b\TIVE EXPERIENCE

Head: Safety. HeaJth& Industrial Hygiene Department, Montana Tech ofThe University of Moutana
Director: Industrial Hygiene Graduate Pro~ Montana Tech ofThe Univmity ofMootma
Planning Committee: Big.Sky Section American Society ofSafety Engineers (on-going)
ADIA aDd ASSE Student SediOD: Facuity Representative)' (on-going)
VULADMlNISTRATIVE EXPERIENCE (coDtinue:d)

Priac.ipallnvatlgator. Six funded research grants
Coordinate and direct graduate student researeh

IX.      PROFESSIONAL f,:QMMUNITY AcrlVlTIES

Member, Expert panel on "Potential Enviromnentallmpacts of Dust Suppressants; Avoiding Another Times Beachn •
Sponsored by U.S. Environmental Protection Agency and the University ufNevadaLas Vegas.
FatuIty R.epresentative, AlHA and ASSE Student Section (on-going)

X.       UNIVERSITY COMMUNITY ACTIVITIES

Member,. Curriculum Review Committee) Montana Tech ofThe University ofMootana
Member~ ChanceUors Advisory Committee, Montana Tech of The University ofMontana


XI.      PROFESSIONAL SOCIETIES

American Industrial Hygiene Association
British Occupational. Hygiene Society
Americas Section, International Society for Respirntory Protection
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                                   DEPOSITION AND TRIAL TESTIMONY

                CASE NAMES                      TYPE of          CASENO~           COURT LOCATION
                                              TESTIMONY
Cootvs. Saberhagen                               Depo         04",2~8167..() SEA Superior Court WA, King Co
Ellington v. Rocky Mtn Homestead              Depo& Trial     CDV..ol..321      MTSdl Judicial District
                                                                                Court Cascade County
Richard K. Thomas. v. DavidPau)               Pepo& Trial     DV..Q3..180       MT 2M Judicial District
Wey~ McGowan Commercial Co. &.                                                  Court. Silver Bow County
John Does J~lll
Fertemrv Burlington Northern Santa Fe         Depo &. Trial                     MT 2~ Judicial District
Railroad (BNSF)                                                                 Court, Silver Bow County
Uriarte v Tash                                   Depo         BDY-9&.1033       MT 1st Judicial District
                                                                                ~ Lewis & Clark County
Carver v Great Falls IneJ Airport Authority      Depo         ADV-OO-730        Federal District Court
                                                                                Montana
Gardiner v Golden SuntightMme                 Depo& Trial     DV-98-220         MT 19th Judicial District
                                                                                Court, Lincoln County
Warner v W.R. Grace                               Depo        DV-96-5           MT 1~· Judicial District
                                                                                Court. Lincoln County
Craig v W.. R. Grace                              Depo        DV-97-153         MT 19lh Judicial District
                                                                                Court, Lincoln County
Cannon v W.R. Grace                              Depo         DV-96-11          MT 19111 Judicial District
                                                                                Court, Lincoln County
Finstad v W.R. Grace                              Depo        DV-98-139         MT 19li1 Judicial District
                                                                                Court, Lincoln County
Shockley v Burlington Northern Santa Fe           Depo        ADYOl..816        MT gill Judicial District
(BNSF) RaHway                                                                   Court, Cascade County
Hurlbert v W.R. Grace                         Depo & Trial                      MT 19· Judicial District
                                                                                Court, Lincoln County
Kaeding v W.R. Grace                              Depo        DV-96-71          MT 19\1l Judicial District
                                                                                Court, Lincoln County
Riley v W.R. Grace                                            DV-96-J 11       .MT J9!i; Jud.idaJ District
                                                                                Couf\ Lincoln County
Skramstad v W.R. Grace                        Depo& Tdal                        MT 1~ Judicial District
                                                                                Court", Lincoln County
Benefield v W.R. Grace                        Depo& Trial     DV-96-170         MT 1~ Judicial District
                                                                                Court" Lincoln County
lyle v W.R. Grace                             Depo&Trial      DV..95..29        MT 19~!udidal District
                                                                                Court, Lincoln County
Shearer v W.R.Grace                               Depo        DV-97-140         MT }9d1 Judicial District
                                                                                Coul\ Lincoln County
Ryan v W.R.6race                                  Depo        DV-9S.100         MT 19111 Judicia) District
                                                                                Courtl Lincoln County
Hopkins vW.R.. Orace                              Depo        DV-99-133         MT 19~ Judicial District
                                                                                Court, Lincoln County
Dedrick v W.R. Grace                              Depo        DV-99-124         MT 19th Judicial District
                                                                                Court Lincoln County
Gunderson v Paffi13usen, et.aJ                    Depo        OV-ol ..191       MT 2M Judicial District
                                                                                Court, Silver Bow County
Crill v, lot l Paper CO. t et al
            1
                                                  Oepo        wee No.2001-      Workers· Comp Court, State
                                                              0408              of Montana
Flesher v.Infl Paper CO' et at
                             t
                                                  Depo        wec No.2002-      Workers'Comp Co1.l.lt, State
                                                              66tH              of Montana

                                                                                                          EXHIBIT

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 Hildreth v Cominoo &. MOIO                    Depo                           MT Sli Judicial District
                                                                            Court, MadisoJl County
 Fox V" Alcoa                                  Depo        03-2-39973-6 SEA Superior CourtWA. King Co
 JOl1D.$On v Q.urlington Northern Santa Fe     De~         I;>V-Q4-42       MT 9·1udicial Distriot
  (BNSF) RaUway                                                               Co~ GlacierCounty
  Geldard v Burlington Northern Santa Fe                   DV..o2..Q143       MT 13lh ·Judicial District
  {BNSF} Railway                                                              Court, Yellowstone County
. Doug Kratt v. Burlington Northern Santa      Depo        OV04-0924          MT IJItI Judicial.Oistrict
  Fe (BNSF)-Railway                                                           Court, Yellowstone County
  Michelle Yother 'IS. Butte Leaseback         Depo        DV-04:.258         MT.2- Judicial District
  Partnersbip~ Cause No.                                                      COUl'1, Silver Bow County
  Countryman v. Homelands Development          Depo        DV..04-108         MT l8la JudiCial District
  and C&.:HEng                                                                Co~ GaUatinCoul1ty
  t4e]vin Visser v. TimberlineJnsulation,                  DV 0$;.587         MT lS* Judicial District
  Inc. and Custom H                                                           Co~ Gallatin County
  Clinton Hagen v. state ofMontana             Depo        DDV-03-1069        MT S~ Judicial District
                                                                              Court, Cascade County
 Rose v. True Oil                              Depo        CV 07..04-BLG-     MT 16* Judicial District
                                                           RFC                Court, Rosebud County
 Rosemary A. M~GJn vs. BNSF                    Dep<>       Case No.           District Court, County of
                                                           2004CV9954         Denver Colorado
 '~nmces H. Gallimore v. GadockSealing          [)epa      At Law No.         Circuit Court for 6 the City
 Teehnologi~ LLC, et at,                                   37336P..{)3        ofNewport News, Virginia
 Howard Stone vs. Atlantic Richfield Co.        Depo       DDV-04-967         MT 8\fa Judicial District
                                                                              CoUl't, Cascade COunty
 Charles E. Eastham v. Burlington Northern      Depo       Civil Action No.   USOC Nebraska
 and Santa Fe Railway                                      4;07 tv 3115
 Raymond Johnson YS. International Paper     Depo&TriaJ    wee NO. 2004...    Workers' Camp Co\1.rt, State
 Co.                                                       1092               ofMontana
